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  I/S                                                                                           FILED
                                                                                      CLERK, U.S. DISTRICT COURT



  21                                                                                 2/24/21
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                                                                                    CENTRAL DISTRICT OF CALIFORNIA
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      7   and Epson America, Inc.
      8

      9                                          UNITED STATES DISTRICT COURT
     10                                       CENTRAL DISTRICT OF CALIFORNIA
     11                                         )                           EDCV21-320-JWH(SPx)
          Seiko Epson Corporation and Epson     )                          [Request Filing Under Seal]
     12   America, Inc.,                        )
                                                )                          Case No.
     13                          Plaintiffs,    )
                                                )                          COMPLAINT FOR TRADEMARK
     14        v.                               )                          INFRINGEMENT; UNFAIR
                                                )                          COMPETITION; AND FALSE
     15                                         )                          ADVERTISING
          Thomas Nelson d/b/a Seller Account TM )
     16   Nelsons, Ganter d/b/a Seller Account  )                          DEMAND FOR A JURY TRIAL
          GANTERY, and Does 1- 10, inclusive, )
     17                                         )
                                 Defendants.    )
     18                                         )
     19             Plaintiffs Seiko Epson Corporation (“SEC”) and Epson America, Inc. (“Epson
     20   America”) (collectively “Plaintiffs”) for their Complaint allege as follows:
     21                                   Allegations Common to All Claims for Relief
     22   A.        Jurisdiction and Venue
     23             1.         Plaintiffs’ claims for trademark infringement, unfair competition and
     24   false advertising arise under the Lanham Trademark Act, as amended, 15 U.S.C., §
     25   1051, et seq. The Court has jurisdiction over the subject matter of these claims
     26   pursuant to 15 U.S.C. § 1121 and 28 U.S.C. § 1331 and § 1338.
     27             2.         Venue is proper within the Central District of California pursuant to 28
     28   U.S.C. § 1391(b) and § 1400(a).
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 1   B.         Introduction
 2              3.         Plaintiffs bring this action to combat the widespread infringement of
 3   their trademark rights by Thomas Nelson d/b/a Seller Account TM Nelsons and
 4   Ganter d/b/a Seller Account GANTERY (“Defendants”) who infringe Plaintiffs’
 5   rights by the unlawful offer, distribution, and sale of ink cartridges and ink bottles
 6   using identical, unauthorized copies of Plaintiffs’ trademarks on counterfeit retail
 7   box packaging with falsified “Best Before” dates (“Counterfeit Products”). The
 8   Counterfeit Products are described as new or genuine when they are in fact
 9   infringements and are also frequently significantly altered, expired or near expired,
10   or used. The Defendants operate through Amazon.com, Inc.’s (“Amazon”)
11   marketplace platform Amazon.com (the “Website”). The Defendants also use a
12   variety of Amazon services to avoid detection while benefitting from Amazon’s high
13   market visibility and business services. The Counterfeit Products are materially
14   different from legitimate ink cartridges and ink bottles manufactured and distributed
15   by Plaintiffs for offer and sale in the domestic United States market. The Counterfeit
16   Products deceive consumers into thinking they are buying new, genuine Epson
17   products, and their poor quality is incredibly damaging to Plaintiffs’ name and
18   reputation.
19   C.         Plaintiffs
20              4.         SEC is a corporation duly organized and existing under the laws of
21   Japan. Its principal place of business is located in Nagano, Japan.
22              5.         Epson America is a corporation organized and existing under the laws
23   of the State of California, having its principal place of business in Long Beach,
24   California. As the North American sales, marketing and customer service affiliate of
25   SEC, Epson America is SEC’s exclusive licensee for the distribution of inkjet
26   printers, ink cartridges, and ink bottles using SEC’s trademarks.
27              6.         SEC, together with its subsidiaries, including but not limited to Epson
28   America, is a diversified, global electronics company with operations that offer
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 1   products in five (5) principal categories: Consumer and Business Printers; Home,
 2   Education and Business Video Projectors; Commercial Printers; Manufacturing
 3   Robots; and Augmented Reality Smart Glasses.
 4              7.         A significant aspect of Plaintiffs’ business is the production and
 5   worldwide distribution of its Epson ink cartridges and ink bottles for Epson printers,
 6   which are used for personal, commercial and creative purposes. Today Epson is one
 7   of the world’s leading and most respected brands in the area of printing technologies.
 8   Epson printers are renowned for their performance, productivity, reliability and cost
 9   effectiveness.
10              8.          SEC is the owner of all relevant intellectual property rights in a variety
11   of trademarks in the specific classes of goods for ink, cartridges, bottles, instruction
12   manuals, circuits and software, specifically including but not limited to EPSON®
13   (Reg. No. 1,134,004), EPSON® (Reg. No. 2,144,386), EPSON® (Reg. No.
14   2,949,374), EPSON® (Reg. No. 3,092,025), EPSON® (Reg. No. 3,520,274), Better
15   Products for a Better Future® (Reg. No. 3,875,333), EPSON EXCEED YOUR
16   VISION® (Reg. No. 3,448,351), DURABRITE® (Reg. No. 2,644,235), and
17   ECOTANK® (Reg. No. 4,875,047) among others (the “Trademarks”). The
18   Trademarks are world famous and distinguish SEC and Epson America products.
19   The Trademarks are valid, subsisting, in full force and effect, have been registered
20   for more than five years and are incontestable as provided by Section 1065 of the
21   Lanham Act. Each year Plaintiffs spend significant amounts to develop and maintain
22   the considerable goodwill they enjoy in the Trademarks and in their reputation for
23   high quality. Plaintiffs have secured exclusive rights to U.S trademark registrations,
24   including, but not limited to, the Trademarks that are attached hereto as Exhibit A.
25              9.         Plaintiffs have continuously used the Trademarks from the registration
26   dates, or earlier, until the present and at all times relevant to the claims alleged in this
27   Complaint.
28

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 1              10.         As a result of advertising and sales, together with longstanding
 2   consumer acceptance, the Trademarks identify SEC’s products and authorized sales
 3   of these products. The Trademarks have acquired secondary meaning in the minds
 4   of consumers throughout the United States and the world.
 5              D.         Defendants
 6              11.        Plaintiffs are informed and believe, and upon that basis allege, that the
 7   Defendants, both of which sell purported “Epson” products exclusively, conduct
 8   extensive online sales including sales on the Website using fanciful seller accounts.
 9   Plaintiffs are informed and believe that the Defendants are co-conspirators and are
10   related given that they are consistent in following a pattern of conduct selling the
11   same infringing product, sometimes using the same product listing, but always using
12   the same or similar counterfeit “Epson” branded retail box packaging. The
13   Defendants both use Fulfillment by Amazon (“FBA”) services, explained in further
14   detail below, and they sell their Counterfeit Products at similar low price points.
15              12.        Plaintiffs are informed and believe, and upon that basis allege, that
16   Defendant Thomas Nelson is an individual and doing business as Amazon Seller
17   Account TM Nelsons and on information and belief, others which are the subject of
18   ongoing investigation and discovery (“Nelson”). Plaintiffs are further informed and
19   believe, and upon that basis allege, that Nelson is a resident of Ontario, California as
20   he uses an address in Ontario, California in connection with Amazon Seller Account
21   TM Nelsons. Plaintiffs are informed and believe that Nelson utilizing Amazon’s
22   FBA services, also shipped product to residents within this judicial district from
23   Lexington, Kentucky, and North Las Vegas, Nevada. Plaintiffs are further informed
24   and believe, and upon that basis allege, Nelson had the right and ability to supervise
25   or control the infringing activity alleged herein and had a direct financial interest in
26   such activity. Nelson is subject to the jurisdiction of this Court through his
27   promotion, distribution, advertisement and/or sale of the Counterfeit Products which
28   infringe the Trademarks within this judicial district.
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 1              13.        Plaintiffs are informed and believe, and upon that basis allege, that
 2   Defendant Ganter is a business entity, the form of which is currently unknown to
 3   Plaintiffs, and doing business as Amazon Seller Account GANTERY, and on
 4   information and belief, others which are the subject of ongoing investigation and
 5   discovery (“Ganter”). Ganter uses a business address in Ontario, Canada, and
 6   Plaintiffs are informed and believe that Ganter utilizing Amazon’s FBA services,
 7   shipped product to residents within this judicial district from Lexington, Kentucky,
 8   and North Las Vegas, Nevada. Plaintiffs are further informed and believe, and upon
 9   that basis allege, Ganter had the right and ability to supervise or control the
10   infringing activity alleged herein and had a direct financial interest in such activity.
11   Ganter is subject to the jurisdiction of this Court through its promotion, distribution,
12   advertisement and/or sale of the Counterfeit Products which infringe the Trademarks
13   within this judicial district
14              14.        Upon information and belief, Does 1 – 10 are either entities or
15   individuals who are residents of or present in this judicial district, or are subject to
16   the jurisdiction of this Court. Upon information and belief, Does 1 – 10 are
17   principals, supervisory employees, or suppliers of one or other of the named
18   defendants or other entities or individuals who are, in this judicial district,
19   manufacturing, distributing, selling and/or offering for sale merchandise which
20   infringes the Trademarks. The identities of the various Does are unknown to
21   Plaintiffs at this time. The Complaint will be amended to include the names of such
22   individuals when identified. The named Defendants and Does 1 – 10 are collectively
23   referred to herein as “Defendants.”
24   E.         Defendants’ Infringing Activities
25              15.        Defendants have copied, reproduced, distributed, advertised and/or sold
26   and continue to copy, reproduce, distribute, advertise and/or sell the Counterfeit
27   Products, infringing the Trademarks owned by Plaintiffs. Defendants knew or
28   should have known Epson America is located in this district as its location in “Long
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 1   Beach, CA” was prominently marked on the counterfeit retail box packaging of the
 2   Counterfeit Products.
 3              16.        On information and belief, Defendants’ infringing activities are part of a
 4   complex scheme that sources counterfeit, used, remanufactured, expired or near
 5   expired, or “Initial Cartridges” that are not intended for resale separately from the
 6   printers with which they were originally bundled. Any used cartridges or bottles are
 7   in and of themselves materially different from authorized versions of Epson
 8   cartridges and bottles sold in the United States insofar as they were collected after
 9   use by consumers and refilled with ink not made by Epson. Initial Cartridges are in
10   and of themselves materially different from authorized versions of Epson cartridges
11   sold in the United States as they lack the kind of protective packaging and other
12   pertinent consumer information consistent with retail versions, and many have lower
13   page yields. Counterfeit Product sold by Defendants are reworked and/or re-labeled
14   in varying degrees though the cartridges and bottles are re-packaged in counterfeit
15   retail box packaging, and misrepresented as new and/or genuine Epson ink cartridges
16   and ink bottles for the United States market with false or advanced “Best before”
17   dates aimed at maximizing resale opportunities.
18              17.        Defendants’ counterfeit ink bottles also do not have the same standard
19   of manufacture nor the same ink type as genuine Epson ink bottles.
20              18.        Plaintiffs are also informed and believe that as part of the reworking
21   process as to some of the counterfeit cartridges, Defendants remove the cartridges
22   from their original packaging and from their high quality vacuum seal in order to
23   reprogram and/or replace the accompanying Epson Integrated Circuit (“IC”) chip
24   affixed to every genuine Epson cartridge and/or also to replace the original Epson
25   label with a counterfeit label and substitute their own, non-genuine vacuum bag
26   packaging. Manipulating the IC chip and substituting counterfeit Epson labels on the
27   cartridges conceals the fraudulent nature of the product Defendants sell. In so doing,
28   the quality and lifespan of the ink is degraded, and packaging with instructions for
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 1   use of the cartridge and important consumer information, specifically including the
 2   accurate “Best before” date among other things, is removed. Defendants distribute
 3   the materially altered and now counterfeit cartridges in counterfeit retail box
 4   packaging to unsuspecting consumers as new and genuine Epson ink cartridges with
 5   falsified “Best before” dates using the Website, Amazon’s logistics and FBA
 6   services and its payment processing services.
 7              19.        Amazon itself is a trusted authorized reseller of Epson branded products
 8   on its worldwide websites. Amazon allows third party sellers to use its websites to
 9   sell products, including many of the same products as sold by Amazon itself.
10   Amazon’s policies and contracts with third party sellers prohibit sales of deceptively
11   described products and products that infringe intellectual property rights.
12   Nonetheless, the Website, like other internet marketplaces, is used by some
13   unscrupulous sellers, like Defendants, that compete unfairly and conceal their
14   deceptive activities from Amazon, trademark owners and consumers.
15              20.         Among other services, Amazon offers an extremely well-known e-
16   commerce platform in the U.S. to third parties, including Defendants, to sell products
17   on the Website. The Website is reportedly the eleventh most popular website in the
18   world and third in the United States according to Alexa.com as of November 2020.
19              21.        Some unscrupulous sellers, like Defendants, are able to use Amazon’s
20   extensive sales support services in deliberate violation of Amazon policies to
21   increase sales of counterfeit or other deceptive products. Such services include, but
22   are not limited to, design support for the listing that describes and illustrates the
23   product being offered, use of specific Amazon Standard Identification Numbers
24   (“ASIN”) unique to each product listing, advertising the product listings on other
25   internet websites, access to a huge community of registered Amazon customers that
26   regularly purchase products offered by Amazon sellers, a “Message Center” service
27   facilitating communications between buyers and sellers, and FBA fulfillment
28   services through which Amazon warehouses and also provides packaging and
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 1   shipping services. For certain products, the FBA program utilizes seller specific
 2   Fulfillment Network Stock Keeping Unit (“FNSKU”) numbers to organize and track
 3   inventory. In 2017, Amazon reports that it shipped 2 billion items to customers in
 4   185 countries on behalf of small businesses using its FBA program. FBA shipments
 5   reflect Amazon’s own address on the shipping labels as the return address. The
 6   Website also provides a payment processing service which accepts payment for
 7   goods sold on the Website where consumers pay Amazon instead of the seller
 8   directly.
 9              22.        Defendants employ the Website platform and Amazon services to sell
10   large quantities of their Counterfeit Products relatively anonymously. Defendants
11   were FBA sellers who sold products attached to particular ASINs and used seller
12   specific FNSKU numbers on their Counterfeit Products, identified in the attached
13   Exhibit B. Defendants have distributed, advertised and sold and continue to
14   distribute, advertise and sell the Counterfeit Products using Amazon’s services
15   including the Website, FBA and the Amazon payment processing service. Defendants
16   have not been authorized by Plaintiffs to reproduce, distribute, sell or offer for sale
17   the Counterfeit Products in the United States.
18              23.        Plaintiffs have made numerous sample purchases from the Defendants
19   consisting of Counterfeit Products. Plaintiffs are harmed by this conduct. Not only
20   are materially different products being distributed into interstate commerce by
21   Defendants in mass quantities, they are deceptively repackaged in counterfeit retail
22   box packaging and are usually counterfeit, significantly altered, expired or near
23   expired, and used products distributed in lieu and in place of authorized Epson ink
24   cartridges and ink bottles manufactured and packaged by Epson appropriately for
25   sales in the United States. The Defendants’ reworking process negatively impacts
26   the quality of the cartridges and the ink and in cases of used product, may not even
27   contain Epson ink. Defendants’ use of the Epson Trademarks tricks consumers into
28   believing they are purchasing a new product, manufactured and approved by Epson.
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 1   As a result of this counterfeiting scheme and Defendants’ deceptive practices,
 2   Plaintiffs lose control over their trademarks and by the injection of substandard
 3   product into the market by Defendants, the goodwill and reputation Plaintiffs have
 4   developed through their investment, innovation, and dedication to customer
 5   satisfaction is irreparably damaged.
 6              24.        Defendants are currently engaged in such illicit practices and, unless
 7   enjoined by this Court, will continue such unauthorized and illicit practices. By
 8   engaging in this conduct, Defendants have acted in willful disregard of laws
 9   protecting Plaintiffs’ goodwill and related proprietary rights and have confused and
10   deceived, or threaten to confuse and deceive, the consuming public concerning the
11   source and sponsorship of the products. By their wrongful conduct, Defendants have
12   traded upon and diminished Plaintiffs’ goodwill.
13                                                  FIRST CLAIM FOR RELIEF
14                                                     (Trademark Infringement)
15              25.         Plaintiffs repeat and reallege all of the allegations contained in
16   paragraphs 1 through 24, inclusive, as though set forth herein in full.
17              26.        Plaintiffs are the owners of exclusive rights to Plaintiffs’ Trademarks,
18   including the federal registrations indexed as Exhibit A. Each of the trademark
19   registrations relating to Plaintiffs’ Trademarks is in full force and effect.
20              27.        Defendants’ importation, manufacture, advertisement, display,
21   promotion, marketing, offer for sale, sale, and/or distribution of the Counterfeit
22   Products are likely to cause confusion or to cause mistake or to deceive the relevant
23   public and trade regarding the affiliation, sponsorship, endorsement or approval of
24   Defendants’ Counterfeit Products by Plaintiffs. Plaintiffs are aware of consumer
25   complaints attached to Defendants’ ASINs where complaints regarding the quality
26   and performance of the unauthorized products were improperly directed at Epson.
27   Such confusion, mistake and deception is aggravated by the confusing similarity
28   between the Trademarks and the use of near identical if not identical likenesses in
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 1   connection with the Defendants’ Counterfeit Products in the same type of goods
 2   made, imported and sold by or under authority of Plaintiffs.
 3              28.        Defendants have used and continue to use in commerce unauthorized
 4   reproductions, copies, and/or colorable imitations of Plaintiffs’ Trademarks in
 5   connection with the sale, offering for sale, distribution, and/or advertising of the
 6   Counterfeit Products, which uses are likely to cause confusion, mistake and/or
 7   deception among consumers. Defendants are therefore liable to Plaintiffs for
 8   infringement of Plaintiffs’ Trademarks pursuant to 15 U.S.C. § 1114.
 9              29.        Plaintiffs are informed and believe and, upon that basis allege, that
10   Defendants, and each of them, acted with knowledge of the federally registered
11   trademarks alleged herein and of the valuable goodwill Plaintiffs enjoy in connection
12   therewith, with intent to confuse, mislead and deceive the public into believing that
13   the Defendants’ Counterfeit Products were sold by Plaintiffs, or are in some other
14   manner, approved or endorsed for sales in the U.S. by Plaintiffs. Defendants’ use of
15   reproductions, copies, and/or colorable imitations of Plaintiffs’ Trademarks, without
16   Plaintiffs’ consent or authorization, including on the Counterfeit Products
17   themselves, was and continues to be intentional and willful within the meaning of 15
18   U.S.C. § 1114 and § 1117.
19              30.        Plaintiffs have suffered and continue to suffer irreparable harm and
20   damages a result of Defendants’ acts of trademark infringement in amounts thus far
21   not determined but within the jurisdiction of this Court, which amounts should each
22   be trebled pursuant to 15 U.S.C. § 1117. In order to determine the full extent of such
23   damages, including such profits as may be recoverable under 15 U.S.C. § 1117,
24   Plaintiffs will require an accounting from each Defendant of all monies generated
25   from the, importation, manufacture, distribution and/or sale of the Defendants’
26   products as alleged herein. In the alternative, Plaintiffs may elect to recover
27   statutory damages pursuant to 15 U.S.C. § 1117(c).
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 1              31.        Defendants’ conduct has injured Plaintiffs in an amount to be
 2   determined at trial, and has caused and will continue to cause irreparable injury to
 3   Plaintiffs, for which Plaintiffs have no adequate remedy at law. As such, Plaintiffs
 4   seek injunctive relief pursuant to 15 U.S.C. § 1116, as well as actual damages and
 5   Defendants’ profits pursuant to 15 U.S.C. § 1117(a), and their reasonable attorneys’
 6   fees in prosecuting this action pursuant to 15 U.S.C. § 1117(a). Further, because
 7   Defendants’ infringing conduct has been and continues to be willful, Plaintiffs are
 8   entitled to an enhanced damages award pursuant to 15 U.S.C. § 1117(a). In the
 9   alternative, Plaintiffs may elect to recover statutory damages pursuant to 15 U.S.C. §
10   1117(c).
11                                              SECOND CLAIM FOR RELIEF
12                                                            (Unfair Competition)
13              32.        Plaintiffs bring the following claim of unfair competition under the
14   Lanham Act against Defendants and incorporate by reference the allegations
15   contained in paragraphs 1 through 31 above.
16              33.        As a direct result of Plaintiffs’ longstanding use, sales, advertising, and
17   marketing, the Trademarks have acquired secondary and distinctive meaning among
18   the public who have come to identify the Trademarks listed with Plaintiffs and their
19   products.
20              34.        The Defendants’ Counterfeit Products exactly duplicate and appropriate
21   the Trademarks and delude and confuse the public into believing that Plaintiffs
22   approved, authorized, or sponsored the ink cartridges and ink bottles sold, offered for
23   sale, or distributed by Defendants.
24              35.        Defendants, by misappropriating and using the likenesses of the
25   Trademarks in connection with the sale of the Counterfeit Products are
26   misrepresenting and will continue to misrepresent and falsely describe to the general
27   public the origin and sponsorship of Defendants’ products. Defendants have caused
28   such Counterfeit Products to enter into interstate commerce willfully with full
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 1   knowledge of the falsity of the designation of their origin and description and
 2   representation in an effort to mislead the purchasing public into believing that their
 3   products are authorized by Plaintiffs.
 4              36.         These acts constitute a violation of Section 43 of the Lanham Act, 15
 5   U.S.C. § 1125.
 6              37.        Defendants have obtained gains, profits, and advantages as a result of
 7   their unlawful acts.
 8              38.         Plaintiffs have suffered monetary damages as a result of Defendants’
 9   acts.
10                                                THIRD CLAIM FOR RELIEF
11                                                            (False Advertising)
12              39.         Plaintiffs bring the following claim of unfair competition under the
13   Lanham Act against Defendants and incorporate by reference the allegations
14   contained in paragraphs 1 through 38 above.
15              40.        Plaintiffs are informed and believe that Defendants source and/or alter
16   counterfeit, used, expired or near expired, or Initial Cartridges for re-sale in the United
17   States in counterfeit retail box packaging, representing them as new and genuine
18   Epson ink cartridges and ink bottles.
19              41.        Upon information and belief Defendants’ advertising in connection with
20   sales of their products, actually deceived and/or had the tendency to deceive a
21   substantial segment of consumers in that the distinction between a new and counterfeit,
22   used, and/or altered product is material, likely influencing the purchasing decision by
23   unsuspecting consumers.
24              42.        Defendants caused their false representations to be made in interstate
25   commerce via their websites and various seller accounts.
26              43.        Plaintiffs are injured as a result of Defendants’ false representations
27   concerning their products, either by direct diversion of sales from themselves to
28   Defendants or by a lessening of the goodwill associated with their products.
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 1              44.        Defendants’ acts have irreparably injured, and, unless enjoined, will
 2   continue to irreparably injury Plaintiffs, and Plaintiffs have no adequate remedy at law.
 3                                                            PRAYER FOR RELIEF
 4              WHEREFORE, Plaintiffs demand:
 5              A.         That Defendants, their agents, servants, employees, representatives,
 6   successor and assigns, and all persons, firms, corporations or other entities in active
 7   concert or participation with any of said Defendants, be immediately and
 8   permanently enjoined from:
 9              1.         Infringing the Plaintiffs’ Trademarks, either directly or contributorily, in
10                         any manner, including generally, but not limited to, manufacturing,
11                         reproducing, importing, advertising, selling and/or offering for sale any
12                         unauthorized product which features any of the Plaintiffs’ Trademarks,
13                         and, specifically:
14                         a.       Importing, manufacturing, distributing, advertising, selling and/or
15                                  offering for sale the Infringing Product or any other unauthorized
16                                  products which picture, reproduce, copy or use the likenesses of or
17                                  bear a substantial similarity to any of Plaintiffs’ Trademarks;
18                         b.       Importing, manufacturing, reproducing, distributing, advertising,
19                                  selling and/or offering for sale in connection thereto any
20                                  unauthorized promotional materials, labels, packaging or
21                                  containers which picture, reproduce, copy or use the likenesses of
22                                  or bear a confusing similarity to the Plaintiffs’ Trademarks;
23                         c.       Engaging in any conduct that tends falsely to represent that, or is
24                                  likely to confuse, mislead or deceive purchasers, Defendants’
25                                  customers and/or members of the public to believe, the actions of
26                                  Defendants or their Seller Accounts, the counterfeit products and
27                                  related merchandise manufactured, sold and/or offered for sale by
28                                  Defendants or their Seller Accounts, or Defendants or their Seller
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 1                                  Accounts themselves are connected with Plaintiffs, are sponsored,
 2                                  approved or licensed by Plaintiffs, or are affiliated with Plaintiffs;
 3                         d.       Affixing, applying, annexing or using in connection with the
 4                                  importation, manufacture, distribution, advertising, sale and/or
 5                                  offer for sale or other use of any goods or services, a false
 6                                  description or representation, including words or other symbols,
 7                                  tending to falsely describe or represent such goods as being those
 8                                  of Plaintiffs;
 9                         e.       Secreting, destroying, altering, removing or otherwise dealing with
10                                  the Infringing Product or any books or records which may contain
11                                  any information relating to the importing, manufacturing,
12                                  producing, distributing, circulating, selling, marketing, offering for
13                                  sale, advertising, promoting or displaying of all unauthorized
14                                  products which infringe any of the Plaintiffs’ Trademarks;
15                          f.      Aiding, abetting, contributing to or otherwise assisting anyone
16                                  from infringing upon the Plaintiffs’ Trademarks; and
17                         g.       Engaging in any of the aforesaid prohibited activities over the
18                                  Internet.
19              2. “persons in active concert and participation” as described in para. a)
20                    includes but is not limited to Amazon.com, internet search engines that
21                    identify the Defendants’ websites, Seller Accounts, or other seller accounts,
22                    in response to searches for the Plaintiffs’ Trademarks (either through paid
23                    or non-paid listings), payment provider services that provide payment
24                    services to Defendants or their websites or seller accounts, web hosts that
25                    host content for Defendants or their websites or seller accounts, and
26                    registrars that hold domain names for the Defendants or their websites.
27              3. Specifically, Amazon and/or Amazon.com, and any other third-party
28                    service provider in privity with Defendants with actual notice of this Order
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 1                    shall within two (2) business days receipt of this Order, disable, terminate
 2                    and block any accounts used by Defendants, including accounts related to
 3                    Defendants, that offer or sell counterfeit or infringing goods using
 4                    Plaintiff’s Trademarks, and provide to Plaintiffs all identifying and contact
 5                    information for such accounts, all sales history, all associated financial
 6                    information as well as all addresses used for the return of product by such
 7                    accounts.
 8              4. Otherwise competing unfairly with Plaintiffs in any manner;
 9              5. Destroying or otherwise disposing of:
10                         a.       Merchandise falsely bearing the Trademarks;
11                         b.       Any other products which picture, reproduce, copy or use the
12                                  likenesses of or bear a substantial similarity to any of the
13                                  Trademarks;
14                         c.       Any labels, packages, wrappers, containers or any other
15                                  unauthorized promotion or advertising material item which
16                                  reproduces, copies, counterfeits, imitates or bears any of the
17                                  Trademarks;
18                         d.       Any molds, screens, patterns, plates, negatives or other elements
19                                  used for making or manufacturing products bearing the
20                                  Trademarks;
21                         e.       Any sales and supply or customer journals, ledgers, invoices,
22                                  purchase orders, inventory control documents, bank records,
23                                  catalogs and all other business records, believed to concern the
24                                  manufacture, purchase, advertising, sale or offering for sale of
25                                  products related to the ink cartridges;
26              B.         That those Defendants infringing upon the Trademarks be required to
27   pay actual damages increased to the maximum extent permitted by law and/or other
28   applicable damages at Plaintiffs’ election jointly and severally;
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 1                                                            EXHIBIT A
 2
                                                          SEC’S TRADEMARKS
 3                                                              Registration     Date of       Class(es)
                            Trademark                            Number        Registration    of Goods
 4                           EPSON                               1,134,004      4/29/1980          9
 5                           EPSON                               2,144,386      3/17/1998     2, 9 and 16
                             EPSON                               2,949,374      5/10/2005          16
 6                           EPSON                               3,092,025      5/16/2006           9
                             EPSON                               3,520,274     10/21/2008          9
 7

 8

 9                                                                3,448,351     6/17/2008     2, 9 and 16
10

11

12                                                                3,875,333    11/16/2010     2, 9, 16 and
                                                                                                   40
13

14
                         CLARIA                                   3,428,711    5/13/2008           2
                       DURABRITE                                  2,644,235    10/29/2002          2
15                      ECOTANK                                   4,875,047    12/22/2015       2 and 9
                      ULTRACHROME                                 4,265,246    12/25/2012          2
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18                                                                5,402,648     2/13/2018          2
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24                                                                5,514,446     7/10/2018          2
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 1                                                            EXHIBIT B
 2               Seller
                                      Amazon Seller ID             ASIN          FNSKU       Order Number
 3
                Account
                                                                                              111-9814477-
       1      GANTERY               A21HSFXMIKO7ZF              B00657ZR28     X002H5VQP5
 4                                                                                              7848237
                                                                                              111-6154225-
 5     2      GANTERY               A21HSFXMIKO7ZF             B012IWR4YC      X002HMPUPF
                                                                                                9583439
                                                                                              111-7095374-
 6     3      GANTERY               A21HSFXMIKO7ZF             B012IWPSAY      X002FI3YCH
                                                                                                8963410
 7                                                                                            111-2997162-
       4      GANTERY               A21HSFXMIKO7ZF              B00657ZR28     X002H5VQP5
                                                                                                4441044
 8                                                                                            111-7262697-
       5      GANTERY               A21HSFXMIKO7ZF             B00QU92ZKS      X001Z2QMPZ
                                                                                                8609005
 9
                                                                                              111-8255986-
       6      GANTERY               A21HSFXMIKO7ZF             B072VQP5SH      X0029CBRXR
10                                                                                              8935420
                                                                                              111-3329911-
       7      GANTERY               A21HSFXMIKO7ZF             B012IWPSAY      X002FI3YCH
11                                                                                              3065016
                                                                                              111-2473292-
12     8      TM Nelsons             A1R3QLIJDD0OOS            B012IWPSAY      X002FL1589
                                                                                                4938652
                                                                                              111-7015612-
13     9      TM Nelsons             A1R3QLIJDD0OOS            B00KDIU3FG      X0025G65M5
                                                                                                7004257
14                                                                                            111-8619732-
      10      GANTERY               A21HSFXMIKO7ZF B00NFSDPOM                  X0020KIFH9
                                                                                                6471462
15                                                                                            111-2484091-
      11 TM Nelsons                  A1R3QLIJDD0OOS            B00NFSDPOM      X00279JDRJ
                                                                                                1630646
16
                                                                                              111-4296548-
      12 TM Nelsons                  A1R3QLIJDD0OOS            B00KDITZD2      X0024JKVQ9
17                                                                                              6722614
                                                                                              111-3768410-
      13 TM Nelsons                  A1R3QLIJDD0OOS            B00KYFSZ9E      X0025JM5P3
18                                                                                              2104226
                                                                                              111-2555749-
19    14      GANTERY               A21HSFXMIKO7ZF             B074R85Y7K      X00279RO89
                                                                                                7855462
                                                                                              111-8590931-
20    15 TM Nelsons                  A1R3QLIJDD0OOS            B00NUXE7H6      X002FL12JB
                                                                                                0530622
21                                                                                            111-5742716-
      16      GANTERY               A21HSFXMIKO7ZF             B012IWPSAY      X002FI3YCH
                                                                                                3857846
22                                                                                            111-1407293-
      17 TM Nelsons                  A1R3QLIJDD0OOS            B001DPXX14      X002HMIIOF
                                                                                                5913811
23
                                                                                              111-9931308-
      18 TM Nelsons                  A1R3QLIJDD0OOS            B009NRU2UO X002CDSQWN
24                                                                                              0288206
                                                                                              111-6921005-
      19 TM Nelsons                  A1R3QLIJDD0OOS            B00NFSDUBU      X0025HXBET
25                                                                                              2856224
                                                                                              111-5448588-
26    20 TM Nelsons                  A1R3QLIJDD0OOS            B074RFMST8      X0025HX9ZZ
                                                                                                6157009
27                                                                                            111-5547378-
      21      GANTERY               A21HSFXMIKO7ZF             B012IWR5X2      X002FICOTB
                                                                                                6412246
28

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 1                                                                                            111-8127358-
      22      GANTERY               A21HSFXMIKO7ZF            B074RG2F4V       X0027CIPVL
 2
                                                                                                9160213
                                                                                              111-1367221-
      23 TM Nelsons                  A1R3QLIJDD0OOS           B06Y3TVWD6       X002B5GK9X
 3                                                                                              5547434
                                                                                              111-7041300-
 4    24 TM Nelsons                  A1R3QLIJDD0OOS           B074RFS8V3       X0025TM2ZB
                                                                                                5733855
                                                                                              111-1260870-
 5    25 TM Nelsons                  A1R3QLIJDD0OOS           B074RG6PN1       X0027EHMBN
                                                                                                8393045
 6                                                                                            111-6367202-
      26      GANTERY               A21HSFXMIKO7ZF            B012IWR4YC       X002FIC6AD
                                                                                                5611407
 7                                                                                            111-0564598-
      27 TM Nelsons                  A1R3QLIJDD0OOS           B00NFSDUJM       X0025IPCVX
                                                                                                6133020
 8
                                                                                              111-9800786-
      28      GANTERY               A21HSFXMIKO7ZF            B074RG2F44       X0027BLVUJ
 9                                                                                              5194640
                                                                                              114-2935335-
      29      GANTERY               A21HSFXMIKO7ZF            B012IWPSAY       X002FI3YCH
10                                                                                              2426663
                                                                                              114-6252069-
11    30 TM Nelsons                  A1R3QLIJDD0OOS           B012IWPSAY       X002FL1589
                                                                                                5588206
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